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§
IN THE UNITED STATES DISTRICT CUURT

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Cheryl Phifer,
Plaintiff,

The City of Grand Rapids,

Defendants.

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Case NO. 1:08-cV-665

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Bonorable Gordon Quist/!
U.S. District Judge

et al.,

 

AM:ENDED COMPLAINT

 

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I JURISDICTION AND VENUE
(l) This actions seeks declaratory relief, injunctive relief, damages, to remedy policies
and customs of the Defendants, and any one or more of them, and all those aiding,
abetting or assisting and acting in concert with them, or any one or more of them, that
violate the rights of Pla'mtiffs and others engaging in expressive and associational
activities Plaintiif brings this action under U.S. Civil Statute: 42 U.S.C. #1983, #1985,
& #1983; the First and Fourteenth Arnendments to the United States Constitution; Article
l, #2, #7, & #20 of the Constitution of Michigan 1835. This Court has jurisdiction under
28 U.S.C. #1331, #1342, and #1367.
(2) Venue is proper in the Western Dist:r.ict of Michigan under 28 U.S.C. #l33l, #1343;
42 U.S.C. 1983. Defendants reside in the Westem Distn`ct, and the acts or omissions

complained of; herein have occurred in the Western District of Michigan.

II INTRODUCTION

(3) This action arises out of Defendants’ ongoing practice of conspiracy to commit fraud

upon Plaintiff Cheryl Phifer and all other Afn`can Americans similarly situated in order to

deprive out of our civil rights.

(4) The causes of action brought are (l) violation of 42 U.S.C. 1983 (Deprivation of
Civil Rights), (2) violation of 42 U.S.C. 1985 (Conspiracy), (3) violation of 42
U.S.C. 1981 (Equal Rights)

(5) Plaintii`f brings this action to put an end to policies and customs of the Defendants
that violate the constitutional rights of minority people engaged in protected speech

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(6) and that have a chilling effect on the expressive and associational activities of

(7) countless people who would otherwise exercise their constitutional rights to free

speech in public places within the City as equally as white citizens, were it no for fear

of intentional interference & retaliation harassment by the Defendants.

III PARTIES

(8) Plaintiti`, Cheryl Phifer is a law abiding citizen of the State of Michigan, Kent
County, and a citizen of the United States of America, Resides at 1444 Beckwith
View Ave NE, Grand Rapids MI 49505. Plaintiff during all relevant times of this
action resided in the Western District ot` Michigan.

(9) i>laintiff formerly worked at Guiding Light Mission 11/2001 thru 8/2002.

(10) Plaintiff spoke out against Guiding Light Mission and police misconduct at City
Hall during City Council Meetings before the Honorable Mayor George Heartwell
and the
Grand Rapids City Commisioners and during boycott in front of Guiding Light
Mission and have been retaliated against by defendants

(l 1) Defendants. The named individual defendants herein are sued individually and in
their official capacities for acts and conduct under color of law and conspirators (eo-

conspirators.)

(12) City of Grand Rapids is a municipal entity, organized under the laws of the State
of Michigan with the capacity to sue and be sued. The City is the legal and political
entity responsible for the actions of the Grand Rapids Police Department (GRPD)

audits officersand employees The GRPD is a department of the City Government.

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The City is sued in its own right and on the basis of the acts of its oft'xcers, employees,
ind agents, which were taken pursuant to City customs and policy. At alluth relem
herein, the officers, employees, and agents of the City were acting under color of law.
The City of Grand Rapids City Hall is located at 300 Monroe Ave NW, Grand Rapids Ml
49503

(13) rhél stand rapids raise Depm¢m (GRPD) is an organization dement or
the City of Grand Rapids. The Grand Rapids Police Department is sued in its own
right on the basis of the acts of its officers The Grand Rapids Police Departmal¢ is
located at l Monroe Center, Grand Rapids MI 49503. phone :616-456-3400.

(14) Sargent Deb Vasquez was a sworn member of the lntemal Affairs Division of the
Grand Rapids Police Department, an agency of the City of Grand Rapids, a municipal
corporation of the State of Michigan, and is sued in her official and individual
wpacitites. She handled complaints of police miscondl.u:,tl At all times relevant
herein, Defendant was acting under the color of law.

(15) Ofticer Robert Gannon (#296) is an officer of the Grand R.apids Police
Department, an agency of the CITY OF GRAND RAPIDS, a municipal corpormioo
of the State of Michigan. (as well as other police oHicers. (John Does), are sued in
their official and individual capacities Defendants were acting under the color of

hw.
(15) Guiding Light Mission & Guiding Light Mission Board of Directors, is an

organization that acted as a coconspirator with the Grand Rapids Police Departmd,

and is the legal entity responsible for the actions of their employees Guiding Light

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Mission is sued in its own right and on the basis of the acts of its employees & officers
At all times relevant herein, the officers & employees were acting as co-conspirators with
the Grand Rapids Police Department under the color of law. Guiding Light Mission is
located at 255 S Division, Grand Rapids MI 49503.

(17) Richard Heltel is the President of the Guiding Light Mission’s Board of
Directors, is sued in his official and individual capacities, and is responsible for the
Guiding Light Mission’s administration and operation At all time relevant herein,
Defendant was acting as co»conspirator with the Grand Rapids Police Department
\mder the color of law. Guiding Light Mission is located at 255 S Division, Grand
Rapids MI 49503.

(18) Danny Chico Daniels is the Executive Director of the Guiding Light Mission as
well as other staff members, (.lohn Does), is sued in his/their oiiicial individual
capacities At all relevant times Defendants acted as co-conspirators with the City of
Grand Rapids Police Department under the color of law. Guiding Light Mission is

located at 255 S Division, Grand Rapids MI 49503.

IV FACTS
(19) The policies and customs challenged in this case were used against minorities

protestors, which started on May 20“', 2005, until present These policies and

customs, described more fully herein, will continue to be applied to Plaintiffs

expressive activities unless and until enjoined

(20) Prior m May 20"‘, 2005 ending Lighi Mission <oLM).Board of simms

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President Richard “Dick” Hertel was made aware of GLM’s Executive Director

Danny Chico Daniels actions violated Plaintiffs civil rights.

(21) During the protest at Guiding Light Mission, Plaintiff and other minority
protestors who assembled to exercise our First Amendment Right to voice dissent
were subjected to policies and practices designed to suppress free speech and deter
Plaintiff and other minorities from expressing their views.

(22) During the protest, the Defendants harassed and made threats against minority
protestors to stop us from expressing our views in public.

(23) During the protest, the Defendants were advised that Plaintiffs were holding
peaceful protest. Defendants nevertheless harassed and threatened Plaintiff and
peaceful Protestors and engaged in other law enforcement tactics designed to stifle
Plaintifl’s political expression, as set forth more fully herein.

(24) From the first day of the protest (May 20‘h, 2005 until present Grand Rapids
Police Department continually stopped to harass Plaintiff and other minority
protestors in retaliation for expecting to be treated as equal citizens as white people
enjoy, which interferes with Plaintifl"s constitutional rights.

(25) May 20m, 2005, GLM’s Danny Chico Daniels threatened Plaintiff and protestors
that if we didn’t stop the protest that he Was going to call the police.

(26) May 20"‘, 2005, Grand Rapids Police Officers stopped and asked Plaintiff and
protestors if we had a permit. Plaintiff and another Protestor went the police station
to get permit and Was advised that no permit was required or issued for constitutional

rights.

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(27) May 20"‘, 2005, Plaintiff and protestors and some of the people who Plaintiff and
protestors advised the reason we were protested were advised that we were barred
from GLM for using our freedom speech and freedom of assembly rights, that are
supposedly protected under the Constitution. Guiding Light is a homeless shelter that
is setup to receive donations to provide free food to the hungry and provide shelter
for homeless. After May 20, 2005 Plaintiff & Protestors were required to waive their
civil rights in exchange for food & shelter that was freely given to others.

(28) Between May 23'd, 2005 thru June 4d’, 2005 at least four to six police officers
stopped at protest to inquire why Plaintiff and Protestors were protesting against
GLM and to inquire if we had a permit and we advised that we were told that they do
not issue permits for First Amendment Constitutional Rights and that we didn’t need
one.

(29) Prior to June Sm, 2005, One Grand Rapids Police Car with two police officers,
(grpd#john doe the driver) and the passenger police officer Robert Gannon #296
pulled up to Plaintiff and another protestor K. Patterson and threatened us to end
protest because we can’t use sidewalks for what we were doing or that they Were
going to take us to jail for being on the sidewalk, but the other people on the sidewalk
were not threatened

(30) Plaintiff & protestors advised Defendant Officer Robert Gannon that Plaintiff we
had a complaint against GLM because of Danny Chico Daniels actions and that we
knew we had a right to be out there on the sidewalk in front of 255 S Division Ave,
the same rights as the white people enjoy.

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(31) Defendant Officer Gannon threatened Plaintiff & Protestors that we had to Walk
in front of other businesses or he was going to take us to jail if we were still out there
on the sidewalk in front of GLM when he came back.

(32) J urie 8“’, 2005 Plaintiff and Protestor K. Patterson then went to the police station
but they were already closed. So Plaintiff left work early to go to the Grand Rapids
Police Department located at l Monroe Plaza with Protestor K Patterson and filed
two complaints against Ofticer Robeit Gannon #296 at their Intemal Affairs
Deparatrnent with Sargent Deb Vasquez, who informed us that she would speak with
Officer Gannon’s Supervisor as soon as we were finished filing our complaints

(33) On June 9th, 2005, Plaintiff and protestors arrived at 255 S. Division shortly after
5pm in two vehicles and then have a conversation and then two of the protestors left
to go get something to eat. GLM calls police.

(34) Defendant GRPD Ofticer Robert Gannon arrives at GLM and have a conspiracy
conversation with GLM Program Director Delbert Teachout to harass Plaintiff to
deprive of civil rights. Then after these two conversate Officer Gannon harasses and
threatenes Plaintiff to deprive of civil rights. (intentionally interfering with Plaintiff s
rights).

(35) Defendant GRPD Ofticer Robert Gannon after harassing and threatening Plaintiff
decides to intimidate plaintiff by saying the meter wasn’t plugged. Plaintiff plugged
the meter even though it was well after 5pm.

(36) Defendant GRPD Officer Robeit Gannon after intimidating and intentionally
harassing Plaintiff gives Plaintiff a parking meter ticket after asking for Drivers

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Information, which he does not need for a Parking Meter Ticket.

(3 7) Defendant GRPD Officer Robert Gannon could have written a parking meter
ticket and stuck it on the vehicle without detaining and harassing Plaintiff un-

Necessarily, as GRPD normally give out parking meter tickets to other citizens in this

city. This interference was deliberate and retaliation harassment for the complaints that

we filed against him, (Defendant Officer Robert Gannon#296).

(38) City of Grand Parking Meters do not require money at 5pm. However

Defendant GRPD Officer Robert Gannon falsified ticket time stating that he gave

plaintiff ticket at 5pm. Plaintiff was not at the meter at 5pm on June 9th, 2005.

(38) On June lOth, 2005 , Plaintiff left work early to go back to the Grand Rapids Police
Departrnent at Monroe Plaza with Protestor K. Patterson, and filed more complaints
With the GRPD Internal Affairs Sargent Wayne Moore against GRPD Officer
Gannon # 296. We asked Sargent Moore if we could file a restraining order against
Officer Gannon to stop him from harassing and discriminating against us. Sargent
Moore advised Plaintiff and other Protestor we could not file a restraining order
against a police officer doing police work. Sargent Moore advised Plaintiff and other
Protestor to call the number on the ticket to request hearing and he would follow up
on our complaints

(39) On June 10"‘, 2005 Plaintiff request court hearing on Parking Meter Ticket over
the phone to 616-456-3020.

(40) On June l6"‘, 2005 Plaintiff had to mail in a written form that the City of Grand
Rapids sent to plaintiff to again request a civil infraction hearing.

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(41) Defendants GRPD pulled Plaintiff’s vehicle over continuously between June ll"‘,
2005 thru June 20‘h, 2005 at other locations to unnecessarily detain and harass
plaintiff Plaintiff was not stopped for any traffic violations

(42) Plaintiff was pulled over by GRPD at Division & Buiton. (GRPD#John Doe)

(43) Prior to June 21”, 2005 Plaintiff was pulled over by GRPD at Ionia between
Bartlett & Cherry. (GRPD#John Doe)

(44) GRPD officer who pulled plaintiff over on lonia between Bartlett & Cherry stated
that GLM had called them to report that they had filed a PPO against Plaintiff. After
this officer ran a check and nothing came back, he stated that he was going to GLM
right now and advise them that they can not file a PPO to stop a boycott because it
was our constitutional right..

(45) Plaintiff followed GRPD Police Officer to GLM. The GRPD Police Officer went
into GLM and came outside With Defendant GLM employee Dave Shoemaker were I
(Plaintiff) was and Dave stated that he was only doing what Danny Chico Daniels
told him to do.

(46) On or about June 215‘, 2005 approximately 6 Defendant GRPD Police Officers
came to GLM where Plaintiff and other Protestors were and served plaintiff with a
Stalking PPO (P#406l4)(05-05830-PH) notice and we were verbally threatened that
none of the protestors could go back there either on the sidewalk in front GLM and
that if anyone went back out that I (Plaintiff) would be arrested immediately also
even if I wasn’t there and that l would be imprisoned and required to pay fines
because there was a check on the PPO stating that if any of my friends go there.

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(47) Even though Plaintiff and Protestors had went to the GRPD we were advised that
we did not need a permit or permission to enjoy our Constitutional Rights as same as
the white people enj oy,

(48) Even though a PPO violates that State of Michigan Law and the U.S.
Constitution. A PPO was issued anyway, in conspiracy by Defendants to deprive
Plaintiff and protestors of Civil Rights. (Illegally Restraining Our Civil Rights)

(49) On June 22“d, 2005 Plaintiff had to leave work early to go to the 61St District

Court to get a copy of PPO that was granted against Plaintiff to find out on what grounds

The PPO was issued on since Plaintiff was engaged in lawfully constitutionally protected

Activity.

(50) Plaintiff had to file a request for a hearing on Motion to terminate PPO forrn,

Since PPO was granted without a hearing and it did NOT meet the requirements needed

To get a PPO granted. Like how was this possible to be granted?

(51) Plaintiff requested hearing and received a full copy of PPO, which GLM

Executive Director Danny Chico Daniels filed after conspiring with Grand Rapids Police

And under those directions from the Grand Rapids Police this PPO was granted even

Though there were no grounds stated in the PPO for PPO to be issued on, let alone

Exparte.

(52) One June 22“d, 2005, Plaintiff received copy of PPO (P#406l4)(05-05830-PH)

That the State of Michigan l7th J udicial Circuit Court Kent County Judge Kathleen

Feeney issued an order to the Police Agencies giving them permission to illegally restrain

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Our Constitutionally Protected Rights.

(53) The PPO for Stalking that Kathleen Feeney issued required that 2"0r more acts of
Violence already cornmited against the petitioner (Defendant GLM Executive Director
Danny Chico Daniels) by the Respondent (Plaintiff Cheryl Phifer) physically or by threat.
(54) PPO papers state that they are not intended to Settle disputes

(55) ln the PPO the Defendant (GLM) Danny Chico Daniels falsely checked that two or
More events occurred or threatened to by the Plaintiff because they were all intentional
Defamation lies which caused Plaintiff to suffer harm.

(55) ln Defendants (GLM) Danny Chico Daniels own affidavit to the PPO Judge he
Clearly spells out that this is a civil rights protest. Defendant GLM Danny C. Daniels
Stated in the PPO that Plaintiff was fired from GLM Plaintiff s Religious Bible Study
Meetings that was going conducted in home in which plaintiff rented a room and was
Conducted by Plaintiff’ s former Landlord and was going on prior to Plaintiff renting a
Room there and prior to Plaintiff even moving to this State of Michigan.

(56) Defendants (GLM) Danny C Daniels states that he did not authorize Bible Study
Meeting conducted by plaintiffs landlord in Plaintiff s landlord own home.

(57) Defendants (GLM) Advised that homeless people came to the Bible Study at
Plaintiffs Landlords home. When in all actuality all the people who attended the Bible
Study meetings at plaintiffs former Landlord’s home were not homeless people and were
Not under any authority direction under GLM control. This defamation (lies) cost
Plaintiff to lose job and other benefits

(5 8) Freedoni of Speech & Freedom of Religion are both protected activities under the

United States Constitutional Amendment Rights.
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(65) l the Plaintiff asked how many more times do I (Plaintiff) have to keep requesting
to go to court with this unnecessary stalling.

(66) On July l$th, 2005, Plaintiff received PPO Termination Papers.

(67) On July 16th, 2005, Plaintiff & Protestors resumed protest at GLM & two GRPD
Police Officer (John Doe # & #) stop to harassed Plainiff and protesters

(68) Defendants are still pulling over Plaintiff since this boycott and retaliated against
plaintiff with unwarranted tickets

(69) Defendants have also slandered Plaintiff and other Protestors names to third
parties, which has caused harm to plaintiff and protestors This will also be a
problem in the future if GLM continues to slander Plaintiff to third parties where
plaintiff may Want to fill out an application or received goods and service, which will
cause retaliation and discrimination harm to Plaintiff and Protestors in similar
Situations

(70) On August 25th, 2005, Plaintiff had to take off work to appear in 61st District
Court because of the fake Parking meter ticket #0487725, that was issued to Plaintiff
by Defendants GRPD Officer Gannon #296 on June 9m, 2005 .

(7l) Honorable Judge Fred D Hartley dismissed the ticket.

(72) On September lSth, 2005 Plaintiff and Protestors tried to resume protest without

GRPD police interference the same and equal rights that white citizens enj oy. Two

Defendants GRPD Police Officers stopped, detained and harassed Plaintiff and

Protestors at 6pm (License Plate #433-74)

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(73) There is an actual controversy now existing between Plaintiffs & Defendants

Concerning the Official policies and customs that may be used by Defendants during

political protest Plaintiff seeks a judicial determination of their rights and duties and a

declaration as to the Defendants’ obligation during lawfully permitted protest and events

(74) lt is when execution of a government’s policy or custom, whether made by its
lawmakers or by those whose edicts or act may fairly be said to represent official
policy, inflicts the injury that the government as an entity is responsible under
#1983(*)

(75) Local government entities “’ can be sued directly under #1983 for monetary,
declaratory, or injunctive relief where. .. the action that is alleged to be
unconstitutional implements or executes a policy statement, ordinance, regulation, or
decision officially adopted. . . ’ “ Local governmental entitites also can be sued” “for
constitutional deprivations visited pursuant to governmental “custom”.”

(76) Through its deliberate conduct, the municipality was the moving force behind the
injuries . .” The municipal actions were taken with the requisite degree of culpability
and demonstrates a direct casual link between the municipal action and the
deprivations of federal rights”””(**)

(77) Local Governmental bodies such as cities and counties are considered “persons”
subject to suit under section #1983. States and their instrumentalities on the other

hand are not.” (***)

(78) A local governmental unit is liable only if the alleged deprivation of rights

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‘implements or executes a policy statement, ordinance, regulation, or decision officially
adopted and promulgated by that body’s officers,’ or when the injury is in execution of a
(10¢&1) government’s policy or custom, whether made by its lawmakers or by those whose
edicts or acts may fairly be said to represent official policy.” (****)

(79) While a rule or regulation promulgated, adopted, or ratified by a local
governmental entity’s legislative body unquestionably satisfies Monell ’s policy
requirement a “policy” within the meaning of #l 983 is not limited to official
legislative action. Indeed, a decision properly made by a local governmental entity’s
authorized decision maker~~-i.e., an official who “possesses final authority to
establish [Local government] policy With respect to the [challenged] action’ -may
constitute official policy. “Aut_hority to make municipal policy may be granted
directly by legislative enactment or may be delegated by an official who possesses
such authority, and of course whether an official had final policymaking authority is

in question of law.”’

 

(*) Monell v. Dept of Social Services ofNew York (]978) 436 U.S. 658. 694. 98 S.Cr.20]8.56 L.EdZd
61/.

("‘*) Zelig v County of Los Angeles (2002) 27 Ca1.4th l 1 12, 1 147, l 19 Cal.Rptr.Zd 709, 45 P.3d 1 l7l,
internal citations omitted.: see also Choate v. County of Orange (2000) 86 Cal..App.4"‘ 312, 328, 103
Cal.Rptr.Zd 339; Newton v. County ofNapa {1990) 21 7 Cal.App. 3d 1551, 1564. 266 Cal. Rptr. 682

(*“‘*) Kirchmann v. Lake Elsinore Um'fied School Disl. (2000) 83 Cal.App_4"` 1098, 1101, 100
Cal.Rptr.Zd 289.

(****) County of Los Angele.s v. Superior Court (1998) 68 Cal.App.¢t‘h l 166, l 171 , 80 Cal.Rptr.Zd
860, (internal citations omitted.) “A municipality’s policy or custom resulting in constitutional injury
may be actionable even though the individual public servants are shielded by good faith immunity.”
Batch v. County of Bu!te ( 1983) 147 Cal.Aoo.Sd 554, 568, 195 Cal.Rptr.268, (intemal citations
omitted.) See 8 Witkin, Summary ofCalifomia Law (9"’ ed. 1988) Constitutional Law, #706 et seq.

(*“**) nia»ip`soh v. Cizy ofl,os Angele.i (9" cir. 1989) 835 F.zd 1439, 1443, (imemai citations and
Moore omined.)

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FIRST CLAIM FOR RELIEF
(CONSPIRACY)

First and Founeenth Amendment Constitutional Rights
(Rem.ed.ial under 42 U.S.C. 1981,1983,1985,1986 &
Article 1,2,7 & 20 of the Michigan Constitution)
(Against All Defendants in their Ofiicial & Individuai Capacity)

Plaintiffs realleges paragraphs l through 87

(88) There is an actual controversy now existing between Plaintiffs & Defendants
concerning the official policies and customs that may be used by Defendants during
political matches and rallies Plaintiff seeks a judicial determination of Defendants rights
and duties and a declaration as to the Defendants obligations during lawfully-permitted
activities

(89) Befendants knew or sheuid have known that none of the Plaintiffs lawful peaceful
protest acts iisted iri their Stalking “PPO” Complaint satisfied the requisites fur an
issuance of a PPO Order!Lieii & parking meter ticket They also should have known that
their willful, wanton, malicious reckless & lntentional misconduct violated Plaintifi’s
Civil Rights by barring Plaintiii`s ii*ee rights from public streets & sidewalks out of fear
from their threats of being put in jail., imprisonment & fines

{Exhihit A for this empirith is a truefcornect copy of the PP() {Staiking) mmpiaint
conspired by, filed by and served by the Defendants.) {More Exhihits te eeme}

(90} Defendants Guiding flight Mission & City of Grand Rapiiis Peiice Dept, initiated
evi§ ceneerted wronng civil proceeding censpiracy plot th harasse hitirzi§da§e,
diserinsinatm interfere threateri, libel & slandcred, retaiiate & deprive Phiintiff of Civii
flights GLM & City/GRPD then conspired with Kent County i?d‘ .h.idicial Circuit Court
Farriily Divisien §accessory) and City of Grandviile Police Departrnent (accessory) to
heip them cement {aiding & abetting their evil concerted czivii curispiracy pier tn step
Civil MM Preeest by Plaintiff amf rather Afrieari Arrierieans Citi;rens prrstestizig err
Divisie»n Ave intentionally

{:9!`) Defendth conspired wider the cofer of statute to stop Piaintiffs iiiwa Equal Civii

Rigirrs f§nehni§ng E,qual Rights, Freedom of Speeeh, Freedoni ref Assemhiy and Freedom
of Reiigi<_xrr)» fry herring Plainti§’s here rights from public sheets & sidewalks out of fear

from their threats of being put in jail., imprisonment & fines

(92`} Ue‘feinhrnts did act in furthch rif said conspiracy wiilfuliy & maliciousiy to
Diwrim@aase & Deprive Plaintiff of Ciiril Rights, by knowing fihng mahcieusly false
iegal deemeets, that they knew Were false &. iilegal to coneeai their mm uuiawful
discrimination

(93') Eaeh Defendant is negligent and owed Plaintiffs a duty te use care in the above
incidents Aii rif the Defendaan {f`rorn the trip dnwn} are text property trained by their

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negligent Supervisors in handling and confronting At`rican Americans Protected Civil
Rights to the same degree as White citizens, denying Plaintiff equal protection of the law.

(94) Defendants provided funding, assistance and personnel in furtherance of the
conspiracy to deprive & discriminate (unequal treaiment) against Plaintiff even after
complaints (prior knowledge) were made to the people in charge to put a stop to tallale
activity and they failed to stop it. Al.l of these incidents could have been prevented if
Defendants Supervisors hadn’t neglected their job duties, Wh.ich is part of a pattern,
practice and custom or omission that is tantamount to their policy.

(95) In committing the aforementioned acts or omissions, each Defendant directly and
proximately resulted in the damages to Plaintit`l`s loss of time, wages, ernbarssement,
huntile in;nry to feelings & reputation to this day. Stress, permanently barred from
missions (pexmanent discrimination), Permanent Damage is done to the Plaintitl'.`s
reputation With regards to PP‘O & Tiekets are pennanent public record. Plaintiff have
become a ticket target for the Grand Rapids Police since this Lawliilh Protected Civil
Rights Protest Plaintitl` did not have a record with the Grand Rapids Police prior to
protestm

(96} In committing the aforementioned acts or onnssions, each Defendant directly and
Froximarely arranged Plainle to be discrimde against harang threatened
intimidated lieel!slaraler silentmarionj retaliated depriged and intentional interference

(97`) These actions also cause Plaintiff & other minorities rights to segregated treatment
that they did not subject white citizens who age their civil liberties privileges, which
caused Plaintiff to have feelings of inferiority as to ear grants in this cornerth which
attested Plaint§§t’s hem mind &. soul in a way unlikely to ever be traer

(98) Defemiants had an affirmative duty to reasonably inquire Whether court pleadings
they sign or aethor§ze are trne, and not being prewnted for an frivolous improper parpose
for anlan~'hzl lagrassrnent, retaliation & discrimination and that the pleadings that they sign
and muhorired are Warranted by existing law within their jurisdiction

(99`) It is illegal to file false legal documents to unlawlirlly discriminate against Plaintiff
and minorities because of their race to intentionally deprive Civil Rights under the color
of law, (misnshzg & abusing their anthonty.) Plaintiff is therefore entitled to
compensatory damages, nominal damages & punitive damages on Plaintiffs First Claim
For Relief.

SECCND CLAIM FOR RELIEF
(DEPRIVATION » ILLEGAL RESTRAINT)

First and Fourteenth Amendment Constitutional flights
(Remedial under 42 U.S.C. 1981,1983,1985,1986 &
Article 1,2,7 & 20 of the Michigan Constitution)
(AM All Be§evdants in their Offieial & individual Capaeity)

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Plaintiffs realleges paragraphs 1 through 99

(100) There is an actual controversy now existing between Plaintiifs & Defendants
concerning the oliicial policies and customs that may be used by Defendants during
political marches and rallies. Plaintiti` seeks a judicial determination of Defendants rights
and duties and a declaration as to the Defendants obligations during lawfully-permitted
activities

(l()l) Defendants knew or should have known that none of the P`laintifl`s lawful peaceful
protest acts listed in their Stalking “PP(}” Compla_int satisfied the perquisites for an
issuance of a PPO Order/Lien & parking meter ticket. They also should have known that
their willful, wanton, malicious, reckless & lntentional misconduct violated Plaintist
Civil Rights by barring Plaintifi’s free rights from public streets & sidewalks out of fear
from their threats of being put in jail, imprisonment & fines

{Exhihit A for this complaint is a truefcorrect copy of the PPOv (Stalking} emplaint
compared hy, filed by and served by the Deft`endams.) {More Exhihits to eome)

{l(}Z`) Defendants Guiding Light Mission & City of Grand Rapicls Police Dept. initiated
evil concerted wrongfiil civil proceedings conspiracy plot to harasse, intimidate
discrirnisalevii interfere,, threaten, libel & slandered, retaliate & deprive Plaintiff of Civil
Rigg,htsc CZLM & Ciry!(§RPD then conspired with Kent Cousry §7"’ .ludicial Circuit Court
Family Disision {aecessory) and City of Grandville Police Departmen; {aecessory) to
help them sargent fairlng & abetting evil concerted civil compiracy plot to stop Civil
Rights Protest by Plainti§` and other A£rican Americans Citizens protesting on Division
Ave intentionally

{103) Defenrhmts compired under the color of statute to stop Piaintit`i"s lawful Equal Civil
Rights {§raelrading Eqaal Rights, Fmdom of Spmh, Freedmn of Assemhly and Prveeiom
of Relig,irm} by barring Plaintil§’s liee rights from public streets & sidewalks oct of fear
from their threats of being put in _iail, imprisonment & fines

( l 04)~ Defendants did act in furtherance of said conspiracy Williizlly & maliciously to
.Discr.izssi;sme & Depsive Plaintiff cf Civ"il Rigiim, by knowingly filing misidenle false
legal dmemessts, that they knew were ihlse to conceal their own milawfel discrimnation`.

(`19»5) Defendants did knowingly and wrongfully file and continue to prosecute civil
actions agaisrst Plaintiffqu False PP(}, False unnecessary traffic stops & False Parking
Ticket wi§hout probable cause to believe that any of the alleged reasons would satisfy the
requisites of the statutes for an improper purpose to unlawliilly discriminate

Each Defendant owed Plaintiffs a duty to use care in the above incidents All of the
Defendants (i`mm the top down) are not properly trained by their negligent Supervisors in
handling and mn£mnting African Americzms Protected Civil Rights to the same degree as
White citizens with or without Diie Process denying Plaintiff equal protection of the law.

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(106) Defendants provided hinding, assistance and personnel in furtherance of the
conspiracy to deprive & discriminate (unequal treatment) against Plaintiff, even after
complaints (prior knowledge) were made to the people in charge to put a stop to unlawful
activity and they failed to stop it. All of these incidents could have been prevented if
Defendants Supervisors hadn’t neglected their job dutics, which is part of a pattern,
practice and custom or omission that is tantamount to their policy.

( l 07) Defendants had an affirmative duty to reasonably inquire whether court pleadings
they signer authorize are true, and not being presented for an frivolous improper purpose
for nnlawiixl harassinent, retaliation & discrimination and that the pleadings that they sign
and anthnrized are warranted by existing law within their jurisdiction

(108) in committing the aforementioned acts or omissions, each Defendant dizectly and
proximately resulted in the damages to Plaintifi`s loss of time., wages, embarassement,
emotinrnl disness, pennznzently barred from missions (pennanent discrimination). These
actions alan cause Plaintiff& ether minorities rights to be segregaxed treannent, that they
did not subject white citizens who use their civil liberties privileges, which caused
Plaintiff te have feelings af inferiority as to our status in this eernmanity which affected
Plaintiii"s beam mind & sonl in a Way unlikely to ever he undone

( l 99} in cranrnimng the afnrementinned acts or emissich each Defendant directly and
Proximatel'y caused Plaintifl`tc be discriminated against, harassed, threatened
irniirni€£:nev;l~j liheifslander defamaticn, retaliated, deprived and intentimsai interference

(l lG) lt is illegal in file false legal documents to unlawfully discriminaie against Plaintiff
and m-inerities became of their race to intentionally deprive Civil Kiglrts under the color
of lang intimating & abusing their authority`). Plaintiff is thercibre entitled to
compensating da§nagc& ncaninal damages & pnei§ive damages en Plainst Seeend
Claim For Reliet`,

THIRD CLAIM FGR RELIEF
(DISCRIMINATION)

First and Feurteenth Amendment Coustitutional Rights
(Remedial under 42 U.S.C. 1981,1983,1985,1986 &
Article 1,2,7 & 20 of the Michigan Constitution)
(Against' All Befendants in their Official & Individnal Capaci$y)

Plaintiii`s realleges paragraphs l through 110

(l l l) There is an actual controversy now existing between Plain§iii`s & Defendants
concerning the official policies and customs that may be m%d by Defendants during
political matches and rallies. Plaintiff seeks a judicial determination of Defendants rights
and duties and a declaration as to the Defendants obligations during lawfully-permitted
activities

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(112) Defendants knew or should have known that none of the Plaintiffs lawful, peaceful
protest acts listed in their Stalking “PPO” Complaint satisfied the perquisites for an
issuance of a PPO Order/Lien & parking meter ticket. They also should have known that
their willful, wanton, malicious, reckless & lntentional misconduct violated Plaintiff"s
Civil. Ri_ghts by barring Plaintiff s free rights from public streets & sidewalks out of fear
from their threats of being put in jail, imprisonment & fines

(Exhibit A for this complaint is a true/correct copy of the PPO (Stalking) complaint
conspired by, filed by and served by the Defendants.) (More Exhibits to come)

(113) Defendants Guiding Light Mission & City of Grand Rapids Police Dept. initiated
evil concerted wrongful civil proceedings conspiracy plot to harasse, intimidate,
discriminates interfere threaten, libel & slandered, retaliate & deprive Plaintiff of Civil
Rights. GLM & City:‘GRPD then conspired with Kent County l7th Judicial Circuit Court
Family Division (accessory) and City of Grandville Police Department (accessory) to
help them carryout (aiding & abetting) evil concerted civil conspiracy plot to stop Civil
flights Protest by Plaintiid`and other African A~mericans Citizens protesting ed Bi\~'ision
Ave intentionally

(l 14) Defendants conspired under the color of statute to stop Plaintiff"s iawful Equal Civil
flights (irieluding qual Righls, Freedom of Speech, Freedom of Asseml)ly and Freedom
of Religioe,} lay basing PlaiM s free rights from public streets & sidewalks out of fear
from their threats of being put in jail, imprisonment & iines-

{l l5) Defendants acted With deliberate indifference that intedtionally interfered With
plaintiffs civil rights These ai,'tions also cause Plaintiff & adler mineddes rights to be
segregated emma that they did not subject white citizens who use their civil liberties
privileged which caused Plaintiff to have feelings of inferiority as to our status in this
community which affected Plaintiff s heath mind & soul in a way unlikely to ever be
undone.

(l l6) Defefridadts did act in limiieranee of said conspiracy oiliiiiiiy & maliciously to
Disci'iudmee di De;n'ise Plaintiff of Civil Rights, by knowingly §ling maliciously false
legaldocum'e;o;t& that they knew were false & illegal to conceal their own unlawful
discrimination Without due process denying Plaintiff equal protection of the law.

{l l’i’) Each Defemiaiit is negligent and cured Plaintiffs a duty to use care in the above
incidents'., All ofthe Defendaan (t`rom the top down) are not properly trained by their
negligent Supervisors in handling and confronting Aii'ican Americans Protected Civil
Rights to the same degree as White citizens

(l 18`) Defendants provided funding, assistance and personnel in lia‘therance of the
conspiracy to deprive & discrimmate (miequal treatment) against Plaintiff, even after
complaints {pdor knowledge) were made to the people in charge to put a step to unlawful
activity and they failed to stop it. _All of these incidents could have been prevented if
Defendants Supervisors Mdn’t neglected their job duties

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(119) ln committing the aforementioned acts or omissions, each Defendant directly and
proximater resulted in the damages to Plaintiffs loss of time, wages, embarassrnent,
humiliation, injury to feelings & reputation to this day. Stness, permanently barred from
missions (permanent discrimination). Permanent Damag,e is done to the Plaintiffs
reputation with regards to PPO & Tickets are permanent public record Plaintiff has
become ar ticket target for the Grand Rapids Police since this Lawiirlly Protected Civil
Rights Protest. Plaintiff did not have a record with the Grand Rapids Police prior to
protest

(12()) Defendants had an aiiirmative duty to reasonany inquire Whether court pleadings
they sign er authorize are mie, and not being presented for an frivolous improper purpose
for unlawful harassment, retaliation & diserimmzttiorr and that the pleadings that they Sign
and authorized are warranted by existing law within their jurisdiction

(121) lt is illegal to file false legal documents te unlawfully diseriminme against Piaintiii`
and mwties because of their race to intentionally deprive Civ.i} Rights under the coior
of iaw? {mis,us_ing & abusng their authority), Plaintiff is therefore entitled to
eempeasater§f damages Minal damages ,& pmitive damages on Plaintiffs Third Ciaim
For Refief.

(sEE Exmsrrs}

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PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully request relief as follows:

(1) A Preliminary and Permanent injunction, enjoining Defendants, their officers,
agents and employees, from interfering with Plaintiffs and other African
Arnericans (All Minorities) Protected Civil Rights Activities.

(2) A Preliminary & Permanent injunction, enioining Defendams, their ofticers,
agents and employees from conspiring to further harm or discriminate against
Plaintiff and other African Americans (Aii Minorities) participating in
Constitutional,ly Protected Activities.

(3) For a declaration that Defendants’ past, present and future actions violate
Plainst those participating in constitutionally protected activities

{4) To require proper training to be given to ali of the Defendants in regards to
discrimination and Constitntionai rights of protected ciass citizens

('5) For Compensatory damages as pennitted by law and according to prooi`at trial

(6) For Ptmitive damages against the individual Defendants.

(7`) For Attomey Fees pursuant to 42 U.S.C. #1988

(8} For cost of suit pursuant to 28 U.S.C. #l920 and 42 U.S.C. 1988

(9) For such other reiiei` as this Conrt. deems just and }'.)roperh

name member 12“’ 2008

 

Respectfuily submitted,

t (D `:
wmc/wig plow
Cheryl Phiier (Tempora'rily Pro Per)
PO Box 1043

Grand Rapids MI 49501

616-856-0909

Miss hifer a/;

 

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PROOF OF SERVICE

 

Cheryl Phifer states that she is the Plaintiff (Temporarily Pro
Per), and that on December 12‘h, 2008, she served a true and complete
copy of Amended Complaint and Initial Disclosure List in which
address will need to be updated because information maybe outdated on
some of the witnesses as many of them were homeless and they will have
to be tracked down; by postage fully prepaid, first-class U.S. Mail,

upon:
Margaret P. Bloemers (P40853) D. Adam Tountas (P68579)

Assistant City Attorney Berry, Johnston, Sztykiel etc.
Attorney for City/Grand Rapids Atty for Guiding Light Mission
300 Monroe NW, Ste 620 8436 Homestcad, Ste. 210
Grand Rapids MI 49503 Zeeland, MI 49464

(616) 456-4026 / 456-4569 fax (616) 772-6571

mbloemer@ci.g;and-rapids.mi.us atountas@berryiohnstonlaw.com

Mi>@”t

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missphifer@gmail.com

 

na¢ed member 12"‘, 2008

